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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
CHECKMATE.COM, INC.,                                                   :
                                                                       :
                                    Plaintiff,                         :         25-CV-3181 (JMF)
                                                                       :
                  -v-                                                  :       NOTICE OF INITIAL
                                                                       :     PRETRIAL CONFERENCE
ARJUN VASAN,                                                           :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        This case has been assigned to the undersigned. Within two business days of the date

of this Order, Defendant is directed to serve on Plaintiff a copy of this Order and of the Court’s

Individual Rules and Practices in Civil Cases, and to file proof of such service on the docket.

Counsel for Plaintiff is directed to file a notice of appearance on the docket within two

business days of such service. All counsel are required to register promptly as filing users on

ECF and to familiarize themselves with the SDNY ECF Rules & Instructions, which are

available at https://nysd.uscourts.gov/rules/ecf-related-instructions. Pro se parties are

encouraged to consent to electronic service via ECF as it would ensure that the pro se party

would receive documents in its case promptly by email instead of by regular mail. The consent

form, along with instructions on how to fill it out, can be found at https://www.nysd.uscourts.

gov/forms/consent-electronic-service-pro-se-cases. Unless and until a pro se party consents to

receive electronic service, however, counsel are required to serve that pro se party with copies of

documents filed with the Court and to file affidavits of such service with the Court thereafter.

All counsel must also familiarize themselves with the Court’s Individual Rules, which are
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available at https://nysd.uscourts.gov/hon-jesse-m-furman. Absent leave of Court obtained by

letter-motion filed before the conference, all pretrial conferences must be attended by the

attorney who will serve as principal trial counsel.

       Pursuant to the Court’s Individual Rules and Practices in Civil Pro Se Cases, a copy of

which is attached to this Order, all communications with the Court by a pro se party — including

the aforementioned letter — should be filed with the Pro Se Intake Unit by either (1) emailing

the communication as an attachment in PDF format to Pro_Se_Filing@nysd.uscourts.gov (for

instructions, see https://nysd.uscourts.gov/forms/instructions-filing-documents-email); or (2)

mailing the communication to the Pro Se Intake Unit, Daniel Patrick Moynihan Courthouse, 500

Pearl Street, New York, New York 10007. 1 No documents or court filings should be sent

directly to Chambers. Copies of correspondence between a pro se party and counsel shall not be

sent to the Court.

       There is a Pro Se Law Clinic in this District to assist parties in civil cases who do not

have lawyers. The Clinic may be able to provide Defendant with advice in connection with this

case. The Pro Se Law Clinic is run by a private organization called the City Bar Justice Center

(“CBJC”); it is not part of, or run by, the Court (and, among other things, therefore cannot accept

filings on behalf of the Court, which must still be made by any unrepresented party through the

Pro Se Intake Unit). To receive limited-scope assistance from the clinic, Plaintiff should make

an appointment by completing the CBJC’s online intake form, located at https://www.citybar

justicecenter.org/projects/federal-pro-se-legal-assistance-project.

       If this case has been settled or otherwise terminated, counsel and any pro se party are not


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        In the alternative, the Court’s Individual Rules and Practices provide instructions for
delivering communications to the Pro Se Intake Unit by hand. Additionally, as noted in the
Court’s Individual Rules and Practices, a pro se party may move for leave to participate as an
ECF filer; if granted leave, the pro se party can file documents on ECF.


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required to submit such letters or to appear, provided that a stipulation of discontinuance,

voluntary dismissal, or other proof of termination is filed on the docket prior to the date of the

conference, using the appropriate ECF Filing Event. See SDNY ECF Rules & Instructions

§§ 13.17-13.19 & App’x A, available at http://nysd.uscourts.gov/ecf_filing.php.

       In accordance with the Court’s Individual Rules and Practices in Civil Pro Se Cases,

requests for an extension or adjournment made by counsel with access to ECF may be made only

by letter-motion filed on ECF. Requests for an extension or an adjournment made by a pro se

party may be made by letter. All such requests must be received at least 48 hours before the

deadline or conference. The written submission must state (1) the original date(s); (2) the

number of previous requests for adjournment or extension; (3) whether these previous requests

were granted or denied; (4) whether the adversary consents and, if not, the reasons given by the

adversary for refusing to consent; and (5) the date of the parties’ next scheduled appearance

before the Court. Unless counsel and any pro se party are notified that the conference has been

adjourned, it will be held as scheduled.


       SO ORDERED.

Dated: April 18, 2025                                 __________________________________
       New York, New York                                      JESSE M. FURMAN
                                                             United States District Judge




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                                                                           Revised: July 1, 2024

                 INDIVIDUAL RULES AND PRACTICES IN CIVIL PRO SE CASES
                      Jesse M. Furman, United States District Judge

Pro Se Office
United States District Court
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street, Room 250
New York, NY 10007
(212) 805-0175
prose@nysd.uscourts.gov

Unless otherwise ordered by the Court, these Individual Rules apply to all civil cases
involving pro se litigants (that is, litigants without counsel) before Judge Furman.

   1. Communications with Chambers

          A. Telephone Calls by a Pro Se Party. Pro se parties may not call the Court
             directly; any questions should be directed to the Pro Se Office at (212) 805-0175.

          B. Written Communications By a Pro Se Party. All communications with the
             Court by a pro se party should be in writing and delivered in person, mailed, or
             emailed to the Pro Se Office following the instructions in Paragraph 2(B) below.
             No documents or court filings may be sent directly to Chambers. Unless the
             Court orders otherwise, all communications with the Court will be docketed upon
             receipt; such docketing shall constitute service on any user of the ECF system. If
             any other party is not a user of the ECF system (e.g., if there is another pro se
             party in the case), a pro se party must send copies of any filing to that party and
             include an Affidavit of Service or other statement affirming that it has done so.
             Copies of correspondence between a pro se party and opposing parties shall not
             be sent to the Court.

          C. Communications by Parties Represented by Counsel. Except as otherwise
             provided below, communications with the Court by a represented party shall be
             governed by Judge Furman’s Individual Rules and Practices in Civil Cases,
             available at https://nysd.uscourts.gov/hon-jesse-m-furman.

          D. Requests for Adjournments or Extensions of Time. All requests for
             adjournments or extensions of time must be made in writing and must state: (1)
             the original date(s); (2) the number of previous requests for adjournment or
             extension; (3) whether these previous requests were granted or denied; (4) the
             reasons for the requested extension; (5) whether the adversary consents and, if
             not, the reasons given by the adversary for refusing to consent; and (6) the date of
             the parties’ next scheduled appearance before the Court as well as any other
             existing deadlines. Requests for extensions of deadlines regarding a matter that
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          has been referred to a Magistrate Judge shall be addressed to that assigned
          Magistrate Judge.

          Absent an emergency, any request for extension or adjournment shall be made at
          least 48 hours prior to the deadline or scheduled appearance. Requests for
          extensions will ordinarily be denied if made after the expiration of the original
          deadline.


2. Filing of Papers and Service

      A. Consent to Receive Electronic Service. To ensure timely service of documents,
         including Court Orders, non-incarcerated pro se parties are encouraged to consent
         to receive electronic service through the ECF System. To do so, a pro se party
         should review the instructions available at https://www.nysd.uscourts.gov/sites/
         default/files/2021-03/Consent_Pro-Se_Eservice-Instructions.pdf, and then submit
         a Consent to Electronic Service (available at https://www.nysd.uscourts.gov/sites/
         default/files/2021-03/Consent_Pro-Se_Eservice-form.pdf).

      B. Papers Filed by a Pro Se Party. A pro se party may file papers with the Court
         by:

                i. delivering them in person or mailing them to the Pro Se Office, Daniel
                   Patrick Moynihan Courthouse, 500 Pearl Street, Room 250, New York,
                   New York 10007;

             ii.   emailing them as an attachment in PDF format to prose@nysd.uscourts.
                   gov, in which case the pro se party should follow the instructions
                   contained in the April 1, 2020 Addendum to the Court’s ECF Rules &
                   Instructions, available at https://www.nysd.uscourts.gov
                   /electronic-case-filing; or

               iii. filing them on the ECF System if the pro se party has filed a motion to
                    participate in ECF (available at http://nysd.uscourts.gov/file/forms/motion
                    -for-permission-for-electronic-case-filing-for-pro-se-cases and in the Pro
                    Se Office) and been granted such permission by the Court.

      C. Service on a Pro Se Party. Absent a pro se party consenting to receipt of
         electronic service, counsel in pro se cases must serve a pro se party with a paper
         copy of any document that is filed electronically and must file with the Court a
         separate Affidavit of Service. Submissions filed without proof of service that the
         pro se party was served will not be considered.

3. Discovery

   All requests for discovery by a pro se party should be sent to counsel for the party from
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   whom discovery is sought. Discovery requests should not be sent to the Court.

   If there are any discovery disputes, the parties are required to confer with one another in
   an effort to resolve the dispute without the need for Court intervention. If the parties are
   unable to resolve their dispute, either party may file a letter-motion, no longer than three
   pages and in accordance with Paragraph 1 above, explaining the nature of the dispute and
   requesting an informal conference. If the opposing party wishes to respond to the letter,
   it must promptly file a responsive letter, not to exceed three pages.


4. Motions

      A. Filing and Service. Unless otherwise ordered by the Court, papers filed in
         opposition to a motion must be served and filed within 30 days of service of the
         motion papers, and reply papers, if any, must be served and filed within two
         weeks of receipt of opposition papers.

      B. Pro Se Notices. Parties who file a motion to dismiss, a motion for judgment on
         the pleadings, or a motion for summary judgment must provide the pro se party
         with a copy of the notices required under Local Civil Rules 12.1 or 56.2.

      C. Special Rule for Summary Judgment Motions. With respect to any deposition
         that is supplied, whether in whole or in part, in connection with a summary
         judgment motion, the index to the deposition should be included if it is available.

      D. No Courtesy Copies. Unless the Court orders otherwise, parties should not
         submit courtesy hard copies of any submissions in pro se cases.

      E. Oral Argument. Unless otherwise ordered by the Court, oral argument will not
         be heard in pro se matters.


5. Initial Case Management Conference

   Absent a motion to dismiss, the Court will generally schedule an initial case management
   conference within four months of the filing of the complaint. The Notice of Initial
   Pretrial Conference will be docketed on ECF and mailed to the pro se party or parties.
   Unless and until the Court orders otherwise, the conference will be held remotely by
   telephone using the Court’s dedicated conference line, which can be access by calling
   (888) 363-4749 and then entering Access Code 542-1540, followed by the pound (#)
   key. If any party wishes for the conference to be conducted in person or by
   videoconference, he or she should confer with all other parties and promptly file a letter
   to that effect with the Court. The parties should consult the relevant scheduling order
   for additional information and guidance.



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6. Trial Documents

      A. Pretrial Statement. Unless otherwise ordered by the Court, within 30 days of
         the completion of all discovery or, if a summary judgment motion is filed, within
         30 days of the Court’s ruling on summary judgment, the plaintiff in a pro se case
         shall file a concise, written Pretrial Statement. This Statement need take no
         particular form, but it must contain the following: (1) a statement of the facts the
         plaintiff hopes to prove at trial; (2) a list of all documents or other physical
         objects that the plaintiff plans to put into evidence at trial; and (3) a list of the
         names and addresses of all witnesses the plaintiff intends to have testify at trial.
         The Statement must be sworn by the plaintiff to be true and accurate based on the
         facts known by the plaintiff. If pro se, the plaintiff shall file an original of this
         Statement with the Pro Se Office. Two weeks after service of the plaintiff’s
         Statement, the defendant must file and serve a similar Statement of its case
         containing the same information.

      B. Other Pretrial Filings. If the case is to be tried before only a Judge without a
         jury, any parties represented by counsel must also file proposed findings of fact
         and conclusions of law at the time of filing the Pretrial Statement. If the case is to
         be tried before a jury, any parties represented by counsel must also file proposed
         voir dire questions, a proposed jury charge, and a proposed verdict form at the
         time of filing the Pretrial Statement. At the time of filing, a represented party
         should e-mail these documents to the Court (Furman_NYSDChambers@nysd.
         uscourts.gov), in both .pdf and Microsoft Word formats. The pro se party may
         file such documents, but is not required to do so and need not submit them by e-
         mail.

7. Pro Se Clinic
   There is a Pro Se Law Clinic in this District to assist parties in civil cases who do not
   have lawyers. The Clinic may be able to provide a pro se litigant with advice in
   connection with his or her case. The Pro Se Law Clinic is run by a private organization;
   it is not part of, or run by, the Court (and, among other things, therefore cannot accept
   filings on behalf of the Court, which must still be made by any unrepresented party
   through the Pro Se Intake Unit). The Clinic is located in the Thurgood Marshall United
   States Courthouse, 40 Centre Street, New York, New York, in Room LL22, which is just
   inside the Pearl Street entrance to that Courthouse. Under normal circumstances, the
   Clinic is open on weekdays from 10 a.m. to 4 p.m., except on days when the Court is
   closed. An unrepresented party can make an appointment by visiting the Clinic’s
   website at https://www.nysd.uscourts.gov/attorney/legal-assistance or by calling (212)
   659-6190.




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